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                  IN THE UNITED STATES DISTRICT COURT

                  FOR THE NORTHERN DISTRICT OF GEORGIA

                            ATLANTA DIVISION


UNITED STATES OF AMERICA              :
                                      :         CRIMINAL ACTION
             v.                       :
                                      :         NO. 1:12-CR-323-WSD
EDWARD KIM                            :

                         SENTENCING MEMORANDUM

     Comes now the United States of America, by Sally Quillian

Yates, United States Attorney, and Joseph Plummer, Assistant United

States Attorney for the Northern District of Georgia, and files

this SENTENCING MEMORANDUM as follows:

                                 Background

     On September 25, 2012, a federal grand jury returned an

indictment which charged defendant Edward Kim with two Hobbs Act

robberies (Counts One and Five), a carjacking (Count Three), three

counts of using a firearm during the commission of a violent crime

(Counts Two, Four and Six) and possession of a firearm by an

unlawful user of a controlled substance (Count Seven).            (Doc 1).

     On December 11, 2012, defendant Kim pled guilty to carjacking,

two Hobbs Act robberies and using a firearm during the commission

of the last robbery (Count Six).          (Doc 15-1-1).

                       Sentencing Recommendation

     The government recommends a       sentence of 294 months – the low

end of the total guideline range of 294 to 346 months (210 to 262

months,   plus    84   months)   if   a    two-level   vulnerable    victim
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enhancement is applied. Alternatively, in the event that the Court

does not apply a vulnerable victim enhancement, the government

recommends a sentence of 252 months – the low end of the total

guideline range of 252 to 294 months (168 to 210 months, plus 84

months).

       The    government     makes   this     recommendation   because    of   the

serious nature of the offenses of conviction, defendant Kim's

repeated use of a firearm to commit robberies, the need to promote

respect for the law and the need to protect the public from Kim in

light of the fact that prior lenient treatment and prior periods of

incarceration and probation have failed to accomplish these goals.

A   low     end   recommendation     is   made   because    defendant    accepted

responsibility early without requiring victims to testify either in

suppression hearings or at trial, and because defendant agreed to

assist law enforcement in locating a stolen firearm he exchanged

for heroin and he agreed to assist in identifying the individual to

whom he sold the firearm.


       A.     Serious Nature Of The Offense And Vulnerability Of
              A 16-Year-Old Victim.

       The    nature    of   Kim's    offenses     are     serious   because   he

unlawfully acquired two firearms while he was on probation and had

an outstanding warrant for a probation violation.               (PSR ¶¶ 24, 66,

67).      He exchanged one firearm for heroin and he used the other

firearm to commit the carjacking and two armed robberies.                  (PSR ¶


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24).     This case is particularly egregious because during the

commission     of   the   carjacking      defendant    threatened      to     kill   a

juvenile victim, abducted her, struck her in the head with a

firearm, and demanded that she go to a bank ATM in order to get

money.   (PSR ¶ 15).          The victim told defendant that she was only

16-years-old and did not have a bank card.             (PSR ¶ 15).     Later, the

defendant       took    the    victim’s   cell     telephone    before      forcibly

throwing her out of the car.              (PSR ¶ 15).          Subsequently, the

juvenile victim experienced extreme emotional distress for which

she has received counseling and she still suffers from nightmares

and panic attacks.        (PSR ¶ 25 and the Victim Impact Statement).

       Accordingly, the Court should apply the vulnerable victim

enhancement contained in U.S.S.G. § 3A1.1 because defendant “knew

or should have known that [the] victim of the [carjacking] offense

was a vulnerable victim.”          See United States v. Rochoa, 916 F.2d

219,   244-45    (5th     Cir.   1990)(upholding      the   vulnerable        victim

enhancement for a 17-year-old kidnaping victim because the district

court’s decision was not based solely on the victim’s age but also

the observation at trial that the victim was still terrified). See

also United States v. Gonzalez, 183 F.3d 1315, 1326-27 (11th Cir.

1999) superseded by regulation on other grounds as stated in United

States    v.    Diaz,      248    F.3d     1065,     1107   &     n.     59    (11th

Cir.2001)(concluding that a confidential informant’s 72-year-old

aunt and 11-year-old son were vulnerable to armed drug conspirators


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who invaded a home looking for information, drugs, or money because

of their relationship to the informant and because the defendant

pointed a gun at the son’s head and threatened his life as well as

the aunt’s in order to obtain information, drugs and money from the

informant).

     Defendant and the United States Probation Office’s reliance

upon United States v. Davis, 967 F.2d 516, 523-24 (11th Cir. 1992)

for the proposition that the government must establish that the

defendant specifically targeted the victim is misplaced. (PSR ¶ 42

at p. 12).    The Eleventh Circuit in United States v. Kennedy, 441

F. App’x 647, 648 (11th Cir. 2011) explained that targeting was no

longer   a    requirement   “[s]ince   the   1995   amendments   to     the

Guidelines, there is no longer a requirement that the defendant

target the victim because of his vulnerability.”            Id. (citing

United States v. Gonzalez, 183 F.3d 1315, 1326 (11th Cir.1999),

superseded by regulation on other grounds as stated in United

States v. Diaz, 248 F.3d 1065, 1107 & n. 59 (11th Cir.2001).1


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      The Court explained the change in the law as follows:

     Our § 3A1.1 cases require that a defendant “target” his
     victim. The Sentencing Commission, however, has recently
     amended the commentary to § 3A1.1 to clarify that the
     enhancement can apply even if a defendant did not
     ‘target’ his victim. The amended note states: “Subsection
     (b) applies to offenses involving an unusually vulnerable
     victim in which the defendant knows or should have known
     of the victim's unusual vulnerability.”     Gonzalez 183
     F.3d at 1326. (citing U.S.S.G. § 3A1.1, comment. (n.2)
     (1998); and Rodriguez, 65 F.3d at 933 n. 1 (commentary
     binding on court)).

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Therefore, contrary to defendant’s argument otherwise, it does not

make   a   difference   whether    defendant   specifically   targeted   a

juvenile, especially since as discussed below, defendant learned

during the carjacking that the victim was a juvenile.

       Nor does the government rely solely upon the victim’s age

because the Eleventh Circuit has determined that age alone is not

sufficient:

       Buitrago and Gonzalez also contend that the district
       court erroneously found that the aunt and the son were
       vulnerable simply because of their ages. Arguably, a
       victim's elderly or youthful status, without more, is
       insufficient as a matter of law to justify a vulnerable
       victim enhancement. The district court must look not only
       at the victim's individual vulnerability, but also at the
       totality of the circumstances, including the status of
       the victim and the nature of the crime.

Gonzalez, 183 F.3d at 1326-72 (citation omitted)(emphasis added).

       Defendant requests the Court to parse each of the aggravating

facts and circumstances, consider them separately and determine

that being pistol whipped, abducted, threatened with death and

dumped on the roadside is a victim’s typical experience in a

carjacking, but he cites no cases in support of this position.

(Def. Sent. Mem. at 8-9).         The government, however, requests the

Court to consider the totality of the facts and circumstances in

accordance with Gonzalez.

       It is the totality of the circumstances of this case which

involve the brutal carjacking of a 16-year-old victim, who is 5

feet 3 inches tall and weighs approximately 105 pounds, that


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warrants the application of the vulnerable victim enhancement.

Defendant is 6 feet, 1 inch tall and weighs 175 pounds.            (PSR ¶

85). It is undisputed that during the carjacking defendant learned

that the victim was only 16-years-old (PSR ¶ 15; Def. Sent. Mem. at

9); therefore, he knew her age and he still continued to exploit

her.   See United States v. Arguedas, 86 F.3d 1054, 1058 (11th Cir.

1996)(quoting    United States v. Thomas, 62 F.3d 1332, 1345 (11th

Cir.1995) (concluding that “where the ‘thrust of the wrongdoing’

[is] continuing in nature, the defendants' attempt to exploit the

victim's vulnerability will result in an enhancement even if that

vulnerability did not exist at the time the defendant initially

targeted the victim”); United States v. Page, 69 F.3d 482, 490

(11th Cir 1995)(finding that even if the telemarketer defendants

did not initially know of their victims' vulnerabilities, they

warrant    §   3A1.1   enhancement   because     they   learned   of   such

vulnerabilities at some point during the loan fraud yet continued

to perpetrate the fraud against victims whom they knew to be

unusually vulnerable to the loan scheme).

       It is also undisputed that defendant struck the victim in the

head with a pistol even though “she followed [his] instructions .

. .” (PSR ¶ 15; Def. Sent. Mem. at 12).        He threatened to kill her;

he abducted her; and he forced her to drive away from the parking

lot outside of her father’s job where she was waiting for her

father.    (PSR ¶ 15).   Despite placing the victim in “grave peril”


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and causing her “lasting emotional harm” (Def. Sent. Mem. at 8; PSR

¶ 25), defendant also took her cellular telephone before abandoning

the victim after 8:30 p.m. at night.        Id.   Consequently, during

this emergency, the victim, a frightened teenager, who was robbed

by a stranger, had to depend upon the kindness of strangers driving

by in order to contact help.

     B.    Kim’s History Is Unfavorable

     Although Kim had a strict upbringing and has a supportive

family (PSR ¶¶ 79, 81), his criminal history is unfavorable because

he has convictions for DUI (PSR ¶ 65), identity fraud (PSR ¶ 66),

burglary (PSR ¶ 67) and criminal trespass (PSR ¶ 68).       Defendant’s

prior convictions appear to be the result of his ten (10) year

struggle with dependence on heroin and oxycotin which he began

using when he was 22-years-old.    (PSR ¶¶ 24, 80, 84, 87; Def. Sent.

Mem. at 2-7).   He is now 32-years-old.     (PSR ¶ 78).     The instant

offenses of conviction also arose from defendant’s addiction to

heroin.   (PSR ¶ 24).

     C.    The Need To Promote Respect For The Law

     Kim's conduct in this case demonstrates a complete lack of

respect for federal and state laws.         First, Kim committed the

instant offenses while on probation. (PSR ¶¶ 66, 67). Second, Kim

violated his probation on two prior occasions.        (PSR ¶¶ 66, 67).

Third, Kim admitted that on August 17, 2012, he was supposed to

turn himself in on a probation violation warrant, however, he


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instead stole his sister and brother-in-law's car and firearms and

committed the instant heroin-fueled crime spree.        (PSR ¶ 24).

       D.   The Need To Protect The Public And Deter Crime

       Kim has not been deterred from engaging in repeated criminal

activity despite prior lenient sentences of probation for DUI (PSR

¶ 65), identity fraud (PSR ¶ 66) and burglary (PSR ¶ 67).        Both of

his convictions for identity fraud and burglary were originally

first offender adjudications which were revoked after repeated

probation    violations.    (PSR   ¶¶   66,   67).   Despite    repeated

convictions for theft related crimes, Kim's history of theft has

escalated from the nonviolent offense of identity fraud, to the

burglary of a garage to the instant violent offenses of armed

robbery and carjacking.    (PSR ¶¶ 66, 67).

       E.   The Need To Provide Drug Treatment

       Defendant indicates that at the time he committed the offenses

in question he was addicted to heroin and used two (2) grams per

day.   (PSR ¶ 24).   He initially began using oxycontin to cope with

the loss of his mother when he was 22 years old in 2003 and he has

struggled with drug addiction for the past ten (10) years. (PSR ¶¶

78, 80, 83, 84 at p. 20; Def. Sent. Mem. at 2-7).           He has made

repeated unsuccessful attempts to escape his addiction, which range

from methadone, sub oxone, going cold turkey to drug rehabilitation

facilities.    (PSR ¶ 84 at p. 20; PSR ¶¶ 89-90).    See United States

v. Chanelle, 329 F. App’x 729, 735 (11th Cir. 2010)(rejecting the


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defendant’s argument that the district court improperly considered

the 500-hour drug treatment program when it imposed the sentence

because § 3553(a) includes as factors to consider the need for

medical care or other correctional treatment).

     F.   Restitution

     On behalf of the victims the government seeks recovery of the

following amounts of restitution:

     •    $200 for Bejewel jewelry store

     •    $1,550 for Rite Aid

     •    $1,740 for the juvenile victim which includes: $200

          to replace a phone, $75 to replace a garage door

          opener, $25 to replace a wallet, $40 to replace

          sunglasses, $75 for car rental, $150 for makeup,

          $575   for   counseling   and   $500   for   two   doctors

          visits.

(PSR ¶¶ 14, 17, 25 and victim impact statement). Consequently, the

government seeks restitution of approximately $3,490.         However the

government requests leave of the Court to supplement this figure

with the cost of any additional counseling that the juvenile victim

or her family pays subsequently to December 28, 2012 and prior to

sentencing.




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     G.      The Requested Sentence Is Reasonable

     The parties agreed that a guideline sentence is a reasonable

sentence.    (Doc 15-1-10-11).     See United States v. Torres, 2012 WL

4711604 (11th Cir. January 4, 2012)(upholding a 384-month sentence

for brandishing a firearm during a robbery and brandishing a

firearm during a carjacking while finding that, among other things,

the sentence was reasonable because defendant acknowledged in his

sentencing    memoranda   that     a    32-year    sentence      was   just   and

reasonable).

     The maximum sentence for a Hobbs Act robbery, the highest

count of conviction, is twenty years’ (240 months) imprisonment,

and it must be served consecutive to the sentence imposed for using

a firearm during a crime of violence which is punishable by a

minimum of seven years’ (84 months) imprisonment and a maximum of

life imprisonment.     See United States v. Woodruff, 296 F.3d 1041,

10510 (11th Cir. 2002)(holding that “every conviction under §

924(c)(1)(A) carries with it a statutory maximum sentence of life

imprisonment,    regardless   of       what   subsection   the    defendant    is

sentenced under”)(citation omitted). The sentence recommended here

-- 294 months if the vulnerable victim enhancement applies or 252

months if it does not – is reasonable because it is well below the

statutory maximum of life imprisonment.              See United States v.

Gonzalez, 550 F.3d 1319, 1324 (11th Cir.2008), cert. denied, –––

U.S. ––––, 129 S.Ct. 2848, 174 L.Ed.2d 568 (2009)(holding that the


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reasonableness of a sentence may be indicated when the sentence

imposed was well below the statutory maximum sentence).

                              Conclusion

     Therefore, the government respectfully requests the Court to

impose a sentence of 294 months (210 months plus 84 months) – at

the low end of the guideline range of 294 to 346 months, in order

to account for the seriousness of the offenses, to promote respect

for the law, to provide just punishment, to promote deterrence, to

protect the public from the further crimes of Kim and to provide

him with drug and mental health treatment in an appropriate

correctional facility. See 18 U.S.C. § 3553(a). Alternatively, in

the event that the Court concludes that the two-level vulnerable

victim enhancement does not apply, the government respectfully

requests the Court to impose a sentence of 252 months (168 months

plus 84 months) – at the low end of the guideline range of 252 to

294 months.

                                        Respectfully submitted,
                                        SALLY QUILLIAN YATES
                                        UNITED STATES ATTORNEY


                                        /s/JOSEPH PLUMMER
                                        ASSISTANT UNITED STATES ATTORNEY

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                         CERTIFICATE OF SERVICE


     This   is   to   certify   that    the   undersigned   has   this   date

electronically filed the foregoing pleading with the Clerk of the

Court using the CM/ECF system which will automatically send email

notification of such filing to the following attorney(s) of record:


                 W. Matthew Dodge



     This 11th day of February, 2013.




                                  /s/JOSEPH PLUMMER
                                  ASSISTANT UNITED STATES ATTORNEY
                                  joe.plummer@usdoj.gov




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